

People v Torres (2021 NY Slip Op 02653)





People v Torres


2021 NY Slip Op 02653


Decided on April 30, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 30, 2021
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., CARNI, LINDLEY, TROUTMAN, AND BANNISTER, JJ.


382 KA 18-01028

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vJOSE L. TORRES, DEFENDANT-APPELLANT. (APPEAL NO. 1.) 






LEANNE LAPP, PUBLIC DEFENDER, CANANDAIGUA (CARA A. WALDMAN OF COUNSEL), FOR DEFENDANT-APPELLANT. 
JAMES B. RITTS, DISTRICT ATTORNEY, CANANDAIGUA (V. CHRISTOPHER EAGGLESTON OF COUNSEL), FOR RESPONDENT. 


	Appeal from a judgment of the Ontario County Court (William F. Kocher, J.), rendered April 24, 2017. The judgment convicted defendant, upon a plea of guilty, of criminal mischief in the third degree, endangering the welfare of a child and aggravated family offense (three counts). 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed.
Entered: April 30, 2021
Mark W. Bennett
Clerk of the Court








